

People v Alexander R. (2023 NY Slip Op 05041)





People v Alexander R.


2023 NY Slip Op 05041


Decided on October 05, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 05, 2023

Before: Manzanet-Daniels, J.P., Singh, Gesmer, Rodriguez, Rosado, JJ. 


Ind. No. 1444/18 Appeal No. 727 Case No. 2020-02154 

[*1]The People of the State of New York, Respondent,
vAlexander R., Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Alyssa Gamliel of counsel), for appellant.



Judgment, Supreme Court, Bronx County (Guy Mitchell, J.), rendered February 24, 2020, convicting defendant, upon his plea of guilty, of attempted assault in the second degree, adjudicating him a youthful offender, and sentencing him to five years of probation, unanimously modified, as a matter of discretion in the interest of justice, to the extent of vacating the surcharge and crime victim assistance fee imposed at sentencing, and otherwise affirmed.
Based on our own interest of justice powers, we vacate the surcharge and fees imposed on the defendant at sentencing (see People v Chirinos, 190 AD3d 434 [1st Dept 2021]). We note that the People do not oppose this relief.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 5, 2023








